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                              UNITED STATE DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                               CASE NO. 21-60079-CR-CANNON

  UNITED STATES OF AMERICA,

          Plaintiff,
   v.

  MICHAEL MIZRACHY,

          Defendant.
                                           /

                  ORDER ADOPTING REPORT AND RECOMMENDATION

         THIS CAUSE comes before the Court upon the Report and Recommendation entered by

  Magistrate Judge Patrick Hunt Following Change of Plea Hearing [ECF No. 26]. On October 14,

  2021, Magistrate Judge Hunt held a Change of Plea hearing during which Defendant pled guilty

  without a plea agreement to the single count in the Indictment [ECF No. 8]. Magistrate Judge

  Hunt thereafter issued a Report and Recommendation on Change of Plea [ECF No. 26]. No party

  has filed objections to the Report [ECF No. 28], and the time to do so has expired.

         The Court has conducted a review of the record and finds no error in the Report. Therefore,

  it is ORDERED AND ADJUDGED as follows:

         1. The Report and Recommendation [ECF No. 26] is AFFIRMED AND ADOPTED.

         2. The guilty plea entered into by Defendant Michael Mizrachy as to the single count in

             the Indictment is ACCEPTED;

         3. Defendant Michael Mizrachy is adjudicated guilty of the single count in the Indictment,

             which charges Defendant with possession of child pornography, in violation of 18

             U.S.C. § 2252(a)(4)(B) and (b)(2).
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  DONE AND ORDERED in Chambers at Fort Pierce, Florida this 1st day of November 2021.




                                                ________________________________
                                                AILEEN M. CANNON
                                                UNITED STATES DISTRICT JUDGE


   cc:   counsel of record
